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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


HONEYWELL INTERNATIONAL INC.,            Misc. Case No. 21-151
855 South Mint Street
Charlotte, NC 28202,                     Original Proceeding:
                                         Honeywell International Inc. v. North
      Movant,                            American Refractories Company Asbestos
                                         Personal Injury Settlement Trust, Adv.
v.                                       Proc. No. 21-2097 (Bankr. W.D. Pa.)

THE LAW OFFICES OF PETER T.
NICHOLL,
36 South Charles Street, #1700
Baltimore, MD 21201,

      Respondent.



                MEMORANDUM OF LAW IN SUPPORT OF
        HONEYWELL INTERNATIONAL INC.’S MOTIONS TO COMPEL
          AND TRANSFER TO THE BANKRUPTCY COURT FOR THE
                WESTERN DISTRICT OF PENNSYLVANIA
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       Honeywell International Inc. (“Honeywell”) respectfully moves (a) pursuant to Rule 45(g)

and Rule 37(a)(1) of the Federal Rules of Civil Procedure to compel compliance with the

“Subpoena” (Ex. 1) 1 issued to the Law Offices of Peter T. Nicholl (“Nicholl”) from the United

States Bankruptcy Court for the Western District of Pennsylvania in connection with Honeywell

International Inc. v. North American Refractories Company Asbestos Personal Injury Settlement

Trust, Adv. Proc. No. 21-2097 (Bankr. W.D. Pa.) (the “2021 NARCO Litigation”), and (b)

pursuant to Fed. R. Civ. P. 45(f) to transfer the Motion to Compel to Bankruptcy Judge Thomas

P. Agresti in the Bankruptcy Court for the Western District of Pennsylvania, who is presiding over

the 2021 NARCO Litigation

                                NATURE OF THE DISPUTE

       Honeywell’s Subpoena seeks documents that are directly relevant to its pending action

against the North American Refractories Company (“NARCO”) Asbestos Personal Injury

Settlement Trust (“Trust”). The Trust was created some years ago as part of the court-approved

NARCO plan of reorganization to pay claims of those injured by NARCO asbestos-containing

products. Ex. 2 (“Compl.”) ¶ 2. The Trust is only permitted to pay claims, however, if they are

supported by “competent” and “credible” evidence that the claimants were exposed to asbestos

products manufactured by NARCO. Id. ¶ 62. Honeywell, a former parent of NARCO, has a unique

and continuing interest in ensuring that the Trust follows these directives—Honeywell funds the

Trust on an evergreen basis. Id. ¶ 2. Honeywell filed the 2021 NARCO Litigation to protect this

interest and stop the Trust from paying millions of dollars of claims based on “form” affidavits

that are not “competent” or “credible” evidence. Id. ¶¶ 1, 214-22.



1
  References to “Ex. __” refer to exhibits to the Declaration of Guyon H. Knight (“Knight Decl.”),
filed concurrently herewith.
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       The largest filer of non-credible form affidavits, by far, is the target of this Subpoena—

Nicholl—who is mentioned in the Complaint (by name or as “Form Firm 1”) twenty-nine times.

To date, the Trust has already paid Nicholl’s clients more than $85 million—making Nicholl the

firm that has received the most payments from the Trust. Declaration of Yelena Bekker (“Bekker

Decl.”) ¶¶ 5-6. Nicholl received these payments based on form affidavits, which were signed by

all (or virtually all) of the thousands of Nicholl claimants to establish their alleged exposure to

asbestos-containing products manufactured by NARCO. Compl. ¶ 92. A form affidavit uses the

same formulaic, boilerplate language to describe a claimant’s exposure—and recollection of that

exposure—to NARCO’s asbestos-containing products. Id. ¶ 89.

       Nicholl’s form affidavits are not “credible” or “competent” evidence, however, as it is not

possible that thousands of claimants—working at different sites, in different jobs, in different

industries, and in different time periods—all were exposed to NARCO asbestos-containing

products in the same precise manner and all had the very same recollection of that exposure (from

as much as fifty years ago), including of the packaging the product came in and the trade name of

the product. Id. ¶¶ 90, 92-94. Indeed, in its findings of fact on Plan Confirmation in 2006, the

Bankruptcy Court found that only 2.6% of claimants could by then even identify a specific

NARCO product to which they were exposed. Ex. 3, ¶ 73. By contrast, almost 100% of the

claimants represented by Nicholl, totaling in the thousands, incredulously recall the specific

NARCO product they were allegedly exposed to. Compl. ¶ 92. The submission of inaccurate

exposure evidence like this is, according to the Department of Justice, a problem being faced in

the tort and asbestos trust system generally.       See Press Release, Dep’t of Justice, Justice

Department Files Statement of Interest Urging Transparency in the Compensation of Asbestos

Claims (Dec. 28, 2020) (“‘In recent years, numerous courts and commentators have recognized



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that many asbestos claims are based on inaccurate or even fraudulent information …. That lack of

transparency in the compensation of asbestos claims has been a significant problem.’”) (emphasis

added), available at https://tinyurl.com/DOJAsbestos.

       The 2021 NARCO Litigation is the second litigation that Honeywell has brought addressed

to the Trust’s policy of paying claimants who rely on form affidavits, and paying on Nicholl form

affidavits in particular. In 2015, Honeywell sought a preliminary injunction against the Trust

before the same Judge that is presiding over the current litigation. Honeywell sought to enjoin,

among other things, the Trust’s payment on form affidavits, specifically the Nicholl forms as well

as those submitted from several other firms. Compl. ¶ 95. After some encouragement from Judge

Agresti, the Trust “voluntary[ily] agree[d] to stop accepting … ‘form’ affidavits as sufficient to

support a claim.” See In re NARCO, 542 B.R. 350, 356 (Bankr. W.D. Pa. 2015). Several months

later, the Trust published directives to its claims processor memorializing the new prohibition and

stating that form affidavits present “competence and/or credibility concerns.” Compl. ¶ 108. The

Trust’s general counsel later acknowledged in writing that the concern with form affidavits is that

clients “blindly will sign” them even if they do not have the recollection that the boilerplate

exposure language attributes to them. Id. ¶ 104.

       Honeywell was forced to initiate the pending litigation—the 2021 NARCO Litigation—in

part because the Trust reversed its form policy: it reverted to allowing form affidavits. Id. ¶ 113.

The biggest beneficiary of this stunning reversal has been Nicholl, whose claimants were paid over

$46 million in the last two years alone (Bekker Decl. ¶ 4), based on the very same form affidavits

that the Trust previously would not credit as credible or competent. The Trust made this policy

reversal despite Honeywell’s having produced evidence to the Trust—from an asbestos litigation

relating to “Bendix” brake products in which Honeywell is a defendant—showing that many of



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these same NARCO claimants (represented by the same firm) filed interrogatories in that litigation

where they failed to claim any exposure to NARCO asbestos-containing products despite being

asked for all other asbestos exposures and despite these claimants listing other asbestos

manufacturers and other brand names. Compl. ¶¶ 118, 141-50. Suddenly, these claimants had no

recollection of their NARCO exposures despite the quite detailed boilerplate formulaic affidavits

they each signed, often at around the same time. Id. ¶ 135-40. Though the Trust initially

confronted the Nicholl firm with inconsistent evidence submitted by many of its claimants, which

the Trust said was “troubling” and “raise[d] questions as to the credibility and competence of those

affidavits, the Trust ultimately accepted Nicholl’s excuses for these omissions. Id. ¶ 146.

       Honeywell’s new Complaint asks the Court to “declare that form affidavits” violate the

Trust’s governing documents, and to “enjoin the Trust from accepting them as credible and

competent evidence of exposure.” Id. ¶ 222. The evidence sought by this Subpoena is directly

relevant to this claim. The evidence sought will help to prove that Nicholl’s forms are not credible

and that they are in fact inconsistent with allegations submitted by many of the same claimants in

numerous litigations as well as to other asbestos trusts. The Subpoena does not seek other tort and

trust filings of all Nicholl claimants, or even all of those that were paid by the Trust. Rather, the

Subpoena seeks this information for a representative subset of Nicholl claimants whom the Trust

paid based on their form affidavits. See Bekker Decl. ¶ 3. The Subpoena also seeks the documents

that Nicholl provided to the Trust’s auditor. Under Trust policies, those documents are not retained

by the Trust or its auditor but are instead returned to the audited firm. See NARCO Trust Claims

Audit Program, ¶ IV, available at https://tinyurl.com/NARCOAudit.

       The Trust has a pending motion before Judge Agresti in the 2021 NARCO Litigation in

which it seeks a Protective Order on the grounds that the Subpoenas Honeywell served on Nicholl



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and certain other firms are not relevant. In addition, another of the subpoenaed firms recently filed

a Motion to Quash a subpoena that Honeywell served on it at around the same time it served

Nicholl with the Subpoena at issue herein. That subpoena seeks the same type of documents that

the Nicholl Subpoena seeks. To avoid inconsistent rulings and because of Judge Agresti’s long

history with the two related Honeywell litigations, Honeywell also brings a Motion pursuant to

Rule 45(f) to Transfer this Motion to Compel to Judge Agresti. Honeywell respectfully requests

that this Court consider both this Motion to Compel and its Motion to Transfer on an expedited

basis because the deadline to exchange expert reports in this case is February 9, 2021 and

Honeywell will need time to process and review the documents to be produced by Nicholl.

                                      LEGAL STANDARD

       A.      Motion To Compel

       “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case….” Fed. R. Civ. P. 26(b)(1).2

“Relevance, for discovery purposes, has been construed broadly to encompass any matter that

bears on, or that reasonably could lead to other matter that could bear on any party’s claim or

defense.” Lamaute v. Power, 339 F.R.D. 29, 34 (D.D.C. 2021) (internal quotation marks omitted);

see also Mazer v. Frederick Mut. Ins. Co., 2021 WL 311231, at *2 (M.D. Pa. Jan. 29, 2021)

(denying motion to quash subpoena and holding “the federal rules’ relevancy requirement is to be

construed broadly”). The relevance standard from Rule 26 also “provides the relevance standard

for Rule 45 subpoenas.” Stati v. Republic of Kazakhstan, 2020 WL 3259244, at *4 (D.D.C. June

5, 2020).


2
 Although the Subpoena was issued in a Bankruptcy adversary proceeding, Rules 26 and 45 still
govern the scope and enforcement of discovery and third-party subpoenas. See Fed. R. Bankr. P.
7026 (making Rule 26 applicable in adversary proceedings); Fed. R. Bankr. P. 9016 (making Rule
45 applicable in bankruptcy cases).

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       Once the moving party has shown that the documents are relevant, “the party resisting

discovery then must show why discovery should not be permitted.” Vail Lopez v. Timeco Inc.,

2017 WL 6061616, at *2 (D.D.C. Jan. 17, 2017) (internal quotation marks omitted). The “undue

burden standard for Rule 45 also mirrors the standard included within Rule 26.” Stati, 2020 WL

3259244, at *4. Thus, the Court should consider “the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).

       B.      Motion To Transfer

       Rule 45 allows a court to transfer motions to enforce a subpoena to the court that issued

the subpoena “if the court finds exceptional circumstances.” Fed. R. Civ. P. 45(f). To determine

if exceptional circumstances exist, courts consider factors such as the “complexity, procedural

posture, duration of pendency, and the nature of the issues pending before, or already resolved by,

the issuing court in the underlying litigation.” Judicial Watch, Inc. v. Valle Del Sol, Inc., 307

F.R.D. 30, 34 (D.D.C. 2014). These factors ultimately go to three key issues: “(1) whether the

underlying litigation will be disrupted if the subpoena dispute is not transferred; (2) whether the

nonparty subpoena recipient will suffer undue burden or cost if the subpoena dispute is transferred;

and (3) whether … the issuing court is in the best position to rule on the motion to compel.” In re

Braden, 344 F. Supp. 3d 83, 90 (D.D.C. 2018) (internal quotation marks and citation omitted).

The party seeking the transfer bears the burden to show that “such interests outweigh the interests

of the nonparty served with the subpoena in obtaining local resolution of the motion.” Judicial

Watch, 307 F.R.D. at 34.




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                                          ARGUMENT

I.     THE REQUESTED DOCUMENTS ARE RELEVANT

       A.      Subpoena Requests 1 and 2

       These Requests seek specific documents that certain identified Nicholl claimants submitted

to other trusts or exchanged with their adversaries in litigation. These Requests are not directed at

all Nicholl claimants, or even to all Nicholl claimants that were paid by the Trust. They are

directed to a representative subset of Nicholl claimants that were paid by the Trust. See Bekker

Decl. ¶ 3. Moreover, the Requests are not overly broad and do not seek any and all documents

provided to any asbestos trust—they are targeted to “allegations of exposure” submitted to asbestos

trusts (which are typically a few pages each). Ex. 1, Sched. A at 1-2. Nor do they seek entire

litigation files, privileged documents, or medical records. Rather, they seek the complaints,

depositions, interrogatory responses, and affidavits claimants provided to their adversaries in the

litigations. Id. Courts around the country have repeatedly held that this kind of information is a

proper subject of discovery. See, e.g., Sheppard v. Liberty Mut. Ins. Co., 2017 WL 318470, at *3

(E.D. La. Jan. 23, 2017) (denying motion to quash subpoena in part and holding that “all

documents that [claimant] submitted to [asbestos] bankruptcy trusts, including claim forms,

supporting documentation, and supplemental information are discoverable”); Willis v. Buffalo

Pumps, Inc., 2014 WL 2458247, at *1 (S.D. Cal. June 2, 2014) (denying motion to quash subpoena

that sought individual claimant’s data); Nat’l Union Fire Ins. Co. of Pittsburgh Pa. v Porter, 2012

WL 628493, at *3 (D. Md. Feb. 24, 2012) (same).

       The documents sought by these two Requests are directly “relevant to” and plainly “bear

on” Honeywell’s claims in the 2021 NARCO Litigation. First, these Requests seek documents to

demonstrate the lack of credibility of Nicholl’s form affidavits and thus, to support Honeywell’s

claim that the Trust should not pay Nicholl claimants relying on form affidavits. The Complaint

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squarely addresses the credibility of Nicholl’s form affidavits and inconsistencies between them

and other tort and trust filings that Nicholl made on the claimants’ behalf in other venues. Compl.

¶¶ 92-95, 144-49. Obtaining proof of these inconsistencies from Nicholl’s filings is clearly

“relevant to [Honeywell’s] claim” in Count 1 of the Complaint, which seeks a declaration and

injunction that form affidavits submitted by Nicholl and other firms are not credible or competent.

See Compl. ¶ 222; see also id., Prayer for Relief ¶ 2; Fed. R. Civ. P. 26(b)(1). As stated in Count

1, Honeywell intends to prove that these form affidavits are not competent or credible evidence of

exposure in part by showing that “claimants have submitted form affidavits that are materially

inconsistent with representations they made in other litigations or in subsequent submissions to

the Trust.” Compl. ¶ 219. Clearly, these Requests are “relevant to” and “bear on” Honeywell’s

claims in this Count.

       Second, the documents these Requests seek are also relevant to proving that the Trust

“abuse[d] its discretion” in paying Nicholl and other claims based on form affidavits—and are

continuing to abuse it by continuing to pay claims based on form affidavits. Id. ¶ 217. Insofar as

the subpoenaed documents reveal additional inconsistencies with the boilerplate exposure

allegations contained in the Nicholl form affidavits submitted to the Trust, it will buttress

Honeywell’s claim that the Trust should have required claimants (then and now) to submit their

other tort filings before accepting their form affidavits as “credible” or “competent” evidence. See

id. ¶ 235 (seeking an order forcing the Trust to require the submission of claimant filings). Given

that the Trust’s procedures authorize the Trust “to require claimants to submit materials from their

other cases in the tort system” (id. ¶ 134), its failure to exercise that discretion before accepting

the credibility of Nicholl form affidavits in the face of the red flags presented by the Nicholl’s

form affidavits was and is a clear abuse of that discretion.



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       For both of the reasons set forth above, the Subpoenaed documents easily satisfy the

“broadly construed” standard of relevance that applies to a discovery request. Pietrangelo v.

Refresh Club, Inc., 2021 WL 1209300, at *2 (D.D.C. Mar. 31, 2021) (“When in doubt, ‘relevance’

for discovery purposes is broadly construed.’”), aff’d, 2021 WL 2156504 (D.D.C. May 26, 2021).

Without question, the documents subject to Requests 1 and 2 “bear on” and are “relevant to a

claim” in the Complaint.

       B.      Subpoena Requests 3 and 4

       Request 3 seeks information that was submitted to the Trust’s auditor, who the Trust has

indicated will testify at trial, presumably to defend its audits of Nicholl and other firms and its

findings. Request 4 seeks information concerning Nicholl’s communications with the auditor,

which the auditor relied upon almost exclusively to override concerns about material

inconsistencies in Nicholl’s claim filings. See Compl. ¶¶ 156-59. This audit of Nicholl is also

discussed at some length in the Complaint. See id. ¶¶ 151-63. Honeywell needs to obtain the

documents that Nicholl gave to the auditor to cross-examine the auditor. Honeywell needs these

documents from Nicholl (as opposed to the auditor) because the auditor returned to Nicholl the

documents it received from it, per Trust audit procedures that provide for the auditor to return the

documents (without retaining a copy) to the audited firm on the completion of the audit. See

NARCO Trust Claims Audit Program, ¶ IV, available at https://tinyurl.com/NARCOAudit.

II.    NICHOLL WILL NOT SUFFER AN UNDUE BURDEN

       Because the Requested Documents are plainly relevant, Nicholl bears the burden to

establish that producing these materials would be unduly burdensome. See, e.g., Oxbow Carbon

& Mins. LLC v. Union Pac. R.R. Co., 322 F.R.D. 1, 6 (D.D.C. 2017). Nicholl cannot meet this

threshold, as all of the Rule 26 factors weigh in favor of Honeywell. Indeed, having collected over



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$85 million from the Trust to date (making it the highest paid firm) on behalf of its clients, Nicholl

is hardly in a position to claim production is an “undue” burden.

       First, the “issues at stake in the action” are undeniably “importan[t].” Fed. R. Civ. P.

26(b)(1). The 2021 NARCO Litigation concerns the governance of an asbestos trust that is charged

with the responsibility of compensating asbestos victims who establish through credible and

competent evidence that they were exposed to a NARCO asbestos-containing product. See Strike

3 Holdings, LLC v. Doe, 2021 WL 4965567, at *4 (D.D.C. Oct. 26, 2021) (“To determine the

importance of issues … courts must consider the significance of the substantive issues, as

measured in philosophic, social, or institutional terms.”) (internal quotation marks and citation

omitted). The importance of asbestos trust governance has also been confirmed by the federal

government. Just last year, the Justice Department filed a statement of interest in a bankruptcy

proceeding concerning another asbestos trust, and announced that “‘[i]n recent years, numerous

courts and commentators have recognized that many asbestos claims are based on inaccurate or

even fraudulent information …. That lack of transparency in the compensation of asbestos claims

has been a significant problem.’” Press Release, Dep’t of Justice, Justice Department Files

Statement of Interest Urging Transparency in the Compensation of Asbestos Claims (Dec. 28,

2020) (emphasis added), available at https://tinyurl.com/DOJAsbestos.

       Second, “the amount in controversy” is considerable. Fed. R. Civ. P. 26(b)(1). The Trust

has paid hundreds of millions of dollars in claims over the past eight years. See Compl. ¶ 212.

Nicholl alone has collected more than $85 million on behalf of its clients through October 2021.

Bekker Decl. ¶ 5. These significant amounts in controversy weigh in favor of disclosure. See,

e.g., Oxbow Carbon, 322 F.R.D. at 7 (granting discovery request because potential damages of

$150 million is “very substantial”).



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       Third, Nicholl has far better “access” to the “relevant information” sought than Honeywell

does. Fed. R. Civ. P. 26(b)(1). The Requested Documents were not submitted to Honeywell or

any party that Honeywell controls. Nor were they submitted to another party to the 2021 NARCO

Litigation. By contrast, Nicholl, as the law firm that prepared and filed all of the requested

material, either with other trusts or in litigation, is in possession of all material that is responsive

to the Subpoena. See, e.g., Strike 3 Holdings, 2021 WL 4965567, at *4 (finding proportionality

factors such as informational asymmetry where the seeking party has “no way to independently

access the [information]” in favor of conducting discovery).

       Fourth, “the parties’ resources” also weigh in favor of compelling this discovery. Fed. R.

Civ. P. 26(b)(1). Nicholl has collected more than $85 million in payments from the Trust to

claimants it represents. Bekker Decl. ¶ 5. This figure does not include the amounts Nicholl has

collected on behalf of these same claimants from other asbestos trusts or in the tort system. Nicholl

has the resources available to produce the documents the Subpoena seeks. See Fed. R. Civ. P. 26,

1983 adv. comm. note (noting the court must apply the standards of Rule 26 in an “even-handed”

manner whether a party is “financially weak or affluent.”).

       Fifth, the information sought by the Subpoena is plainly important to “resolving the issues”

in the 2021 NARCO Litigation. Fed. R. Civ. P. 26(b)(1). Indeed, it is a significant portion of the

Complaint and the proof Honeywell intends to elicit to show that form affidavits (particularly those

from Nicholl) are not credible or competent.

       Sixth, Nicholl has not shown that “the burden or expense of the proposed discovery

outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1); see BuzzFeed, Inc. v. U.S. Dep’t of Just.,

318 F. Supp. 3d 347, 361 (D.D.C. 2018) (assessing all Rule 26 factors and finding that the burden

or expense of the proposed discovery did not outweigh its likely benefit). Honeywell has offered



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to reduce the scope of its Subpoena to 1,600 claimants—which represents just a portion of the

claimants represented by Nicholl who have been paid by the Trust—and reduce the scope of

documents requested. Knight Decl. ¶ 2; see Bekker Decl. ¶ 3. But to date, Nicholl has refused to

accept any of the reasonable limitations Honeywell has proposed, instead preferring to rely on its

blanket objections that no documents should be produced at all. Knight Decl. ¶ 2.

       Finally, Nicholl may argue that the Subpoena should be quashed because it seeks

confidential documents. The Subpoena, however, seeks only information that has already been

exchanged with third parties, and does not seek protected medical information. Honeywell has

also negotiated with other subpoenaed firms protections to ensure that personally identifying

information such as social security numbers, addresses, and dates of birth, are not produced.

Knight Decl. ¶ 3. Furthermore, the bankruptcy court has already entered a robust protective order

in the 2021 NARCO Litigation that will protect all documents Nicholl produces. Honeywell v.

NARCO Trust, Adv. Proc. No. 21-2097, Dkt. 123, § 4.1 (Bankr. W.D. Pa. Nov. 18, 2021). 3 The

protective order does not permit Honeywell to use the information sought by the Subpoena outside

the context of the 2021 NARCO Litigation, and requires that the material be destroyed when the

action concludes. Id. § 4.1. The protective order also includes an “attorneys’ eyes only” provision

to give heightened protection to particularly sensitive documents. Id. § 1.2. These protections are

more than adequate to protect any confidential information that Nicholl may contend would be

responsive to the Subpoena. See In re Rail Freight Fuel Surcharge Antitrust Litig., 2010 WL

11613859, at *3 (D.D.C. Sept. 9, 2010) (denying motion to quash in part because disclosure would

be subject “to the highly confidential provisions of the protective order issued in this case”); see




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 See also Honeywell v. NARCO Trust, Adv. Proc. No. 21-2097, Dkt. 143 (Bankr. W.D. Pa. Dec.
2, 2021) (entering protective order).

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also Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Porter Hayden Co., 2012 WL 628493, at *5

(D. Md. Feb. 24, 2012) (denying motion to quash subpoena seeking asbestos claims, in part

because the documents would be subject to stipulated protective order that “sufficiently

address[es] … privacy concerns).

III.   HONEYWELL’S MOTION TO COMPEL SHOULD BE TRANSFERRED TO JUDGE AGRESTI

       While this Court can itself grant Honeywell’s Motion to Compel, Honeywell respectfully

submits that Judge Agresti in the bankruptcy court is much better situated to rule on the Motion

and to do so in an expedited fashion. Absent a transfer, there is a serious risk of conflicting rulings

concerning the relevance of the documents sought by the Subpoena—from this Court and from the

other court where Honeywell is moving to compel production under a second firm’s subpoena

(from which Honeywell is similarly requesting a transfer as well). The Trust has already filed a

motion for a protective order before Judge Agresti, in which it challenges the relevance of

Honeywell’s Subpoena to Nicholl, as well as more than a dozen effectively identical subpoenas

Honeywell has issued to other large filers of claims. Honeywell v. NARCO Trust, Adv. Proc. No.

21-2097, Dkt. 125 (Bankr. W.D. Pa. Nov, 19, 2021). Judge Agresti has already set a hearing on

the Trust’s motion for December 13. The “potential for inconsistent rulings should be avoided

and weighs in favor of a single judicial officer deciding all of these disputes.” Wultz v. Bank of

China, Ltd., 304 F.R.D. 38, 46 (D.D.C. 2014) (granting transfer of motion to quash subpoena); see

also, e.g., Coal. for App Fairness v. Apple, Inc., 2021 WL 3418805, at *3 (D.D.C. Aug. 5, 2021)

(granting transfer where “Apple has filed ‘nearly identical’ motions to compel” in three districts).

Judge Agresti should have the opportunity to rule on Honeywell’s Motion to Compel, just as he is

already ruling on the Trust’s motion for a protective order to avoid different courts reaching

different conclusions on the relevance of the documents Honeywell seeks.



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       Furthermore, Judge Agresti’s long history overseeing this dispute puts him in the best

position to decide the issues raised by Honeywell’s Motion. Judge Agresti presided over the 2015

evidentiary hearing, where he observed that the Trust is “unique, or at least highly unusual, among

asbestos-related trusts.” In re NARCO, 542 B.R. at 353. The documents sought by the Subpoena

relate directly to issues that were the subject of the 2015 evidentiary hearing, and will be at issue

in the May 2022 hearing in this action. “[W]hen a matter calls for a fact-intensive inquiry and

another court is deeply steeped in these same facts, there is no reason to ignore that combination.”

Coal. for App Fairness, 2021 WL 3418805, at *3. The sheer size, complexity, and unique nature

of the NARCO bankruptcy and 2021 NARCO Litigation thus weigh decisively in favor of transfer.

See, e.g., Duck v. S.E.C., 317 F.R.D. 321, 325 (D.D.C. 2016) (granting motion to transfer “in light

of the complex nature of the underlying action[] and the significant involvement” of the issuing

court “in the action to date” that has been pending for four years).

       The 2021 NARCO Litigation is also likely to be disrupted if Honeywell’s Motion is not

transferred. Judge Agresti has set an expedited schedule for this litigation, with discovery closing

on March 7, 2022, and trial beginning on May 23, 2022. See Honeywell v. NARCO Trust, Adv.

Proc. No. 21-2097, Dkt. 119 at 3-5 (Bankr. W.D. Pa. Nov. 5, 2021). The documents sought by the

Subpoena are particularly relevant for Honeywell’s expert reports, which must be served on

February 9, 2022. Id. at 3. Time is short, and “the Issuing Court is more than able to act swiftly

to insure that discovery attendant to the litigation pending there is managed in a way that comports

with the deadlines already established by the Issuing Court.” In re Caesars Ent. Operating Co.,

558 B.R. 156, 159 (W.D. Pa. 2016); see also Duck, 317 F.R.D. at 325 (“transfer is appropriate

where transfer would avoid interference with a time-sensitive discovery schedule issued in the

underlying action”); Google, Inc. v. Digital Citizens Alliance, 2015 WL 4930979, at *3 (D.D.C.



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July 31, 2015) (granting motion to transfer because discovery in the underlying case has been “set

at a very rapid pace” and not transferring “carries with it the potential of interfering with the

discovery timeline of the underlying litigation”).

       In contrast to these factors that strongly favor transfer, Nicholl will not suffer prejudice

from the Motion being heard by Judge Agresti. “Transferring a motion to the jurisdiction where

the underlying litigation is pending that will require few, if any, modifications of the written

submissions, does not rise to the level of unfair prejudice.” Wultz, 304 F.R.D. at 45. Even if there

is argument on Honeywell’s Motion to Compel, Judge Agresti has a standing policy to allow

attorneys and parties to appear by telephone or Zoom at all non-evidentiary hearings. 4 Nicholl

will not need to retain new counsel as its attorneys in this district “may file papers and appear on

the motion as an officer of the issuing court.” Fed. R. Civ. P. 45(f). Procedures such as these were

specifically contemplated to “minimize the burden that transfer could impose on nonparties.”

Lipman v. Antoon, 284 F. Supp.3d 8, 11 (D.D.C. Jan. 3, 2018) (granting motion to transfer based

in part on ability to participate in hearings by telephone).

IV.    THE COURT SHOULD ORDER NICHOLL TO EXPEDITE ITS PRODUCTION OF
       DOCUMENTS

       Finally, if Honeywell’s Motion to Transfer is not granted, this Court should expedite the

production of documents by Nicholl.          The Bankruptcy Court for the Western District of

Pennsylvania has set a highly expedited schedule for discovery, dispositive motions, and trial.

Under that schedule, expert reports are due to be exchanged by February 9, 2022. In order for

Honeywell’s expert to make use of the Requested Documents, those documents must be produced

by (at the latest) December 29, 2021—six weeks before the expert report deadline.


4
 See Updated Notice of Temporary Modification of Appearance Procedures Before Judge Thomas
P. Agresti, available at https://www.pawb.uscourts.gov/sites/default/files/pdfs/tpa-proc-
appearances.pdf.

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       “District courts enjoy broad discretion when deciding case management and scheduling

matters.” See McGehee v. U.S. Dep’t of Just., 362 F. Supp. 3d 14, 18 (D.D.C. 2019). As explained

above, the law firm will suffer no undue burden if it is ordered to produce the Requested

Documents and Honeywell will be severely prejudiced if it is forced to litigate the 2021 NARCO

Litigation without the Requested Documents. It is therefore with good cause that Honeywell asks

the Court to expedite the law firm’s production of documents.

                                       CONCLUSION

       For the foregoing reasons, Honeywell respectfully requests this Court transfer Honeywell’s

Motion to Compel to the Bankruptcy Court for the Western District of Pennsylvania, or compel

compliance, on an expedited basis, of the Subpoena issued to Nicholl.

Dated: Washington, DC
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